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                             UNITED STATES DISTRICT COURT
                                     District of Maine



                                                  )
                                                  )   Docket No. 1:16-cv-00077-NT
 DAVID TRASK,                                     )
                         Plaintiff                )
                                                  )
 v.                                               )
                                                  )
                                                  )
 TOWN OF MADISON, SOMERSET                        )
 COUNTY, and DALE LANCASTER,                      )
                   Defendants                     )
                                                  )

ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS SOMERSET COUNTY
        AND DALE LANCASTER TO FIRST AMENDED COMPLAINT


       NOW COME Defendants Somerset County and Dale Lancaster, by and through undersigned

counsel, and hereby answer and affirmatively defend Plaintiffs First Amended Complaint as follows:

                                 AFFIRMATIVE DEFENSES

       A. Plaintiff’s First Amended Complaint fails to state a cause of action upon which relief may

be granted.

       B. Plaintiff has failed to mitigate his damages as required by law.

       C. Plaintiff’s damages were directly and proximately caused by the acts and/or omissions

of an individual and/or entity other than these Defendants.

       D. Plaintiff’s damages were directly and proximately caused by a legally sufficient

superseding/intervening cause.

       E. Defendant Dale Lancaster, in his individual capacity, is entitled to qualified immunity.
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                                            ANSWER

                                      Summary of the Action

       1. These Defendants deny the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint.

                                              Parties

       2. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       3. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       4. These Defendants admit the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint.

       5. These Defendants admit the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint.

                                        Jury Trial Demand

       6. No response is required, as there are no allegations contained in this paragraph of

Plaintiff’s First Amended Complaint.

                                        Factual Allegations

       7. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.


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       8. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       9. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       10. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       11. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       12. These Defendants deny the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint.

       13. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       14. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.




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       15. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       16. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       17. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       18. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       19. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

       20. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s First Amended Complaint

and therefore denies same.

                                          Legal Claims
                               (Federal Constitutional Due Process)

       21. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 20 of Plaintiff’s First Amended Complaint as if fully set forth herein.



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        22. These Defendants deny the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint.

                               State Law Wrongful Termination Claim

        23. These Defendants repeat and reassert their responses to Paragraphs 1 through and

including 20 of Plaintiff’s First Amended Complaint as if fully set forth herein.

        24. These Defendants deny the allegations contained in this paragraph of Plaintiff’s First

Amended Complaint.

        WHEREFORE, Defendants Somerset County and Dale Lancaster pray that judgment be

entered in their favor and against Plaintiff on all counts which address them, plus their costs, interest,

and attorneys fees.


Dated: February 11, 2016                                  /s/ Peter T. Marchesi
                                                         Peter T. Marchesi, Esq.

                                                         /s/ Cassandra S. Shaffer
                                                         Cassandra S. Shaffer, Esq.

                                                         Wheeler & Arey, P.A.
                                                         Attorneys for Defendants Somerset County
                                                                and Dale Lancaster
                                                         27 Temple Street, P.O. Box 376
                                                         Waterville, ME 04903-0376




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                           UNITED STATES DISTRICT COURT
                                   District of Maine

                                                  )
 DAVID E. TRASK,                                  )    Docket No. 1:16-cv-00077-NT
                        Plaintiff                 )
                                                  )
 v.                                               )
                                                  )
 TOWN OF MADISON, SOMERSET                        )
 COUNTY, and DALE LANCASTER,                      )
                   Defendants                     )

                               CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, Esq., attorney for Defendants Somerset County and Dale Lancaster,
hereby certify that:

       !      Answer and Affirmative Defenses of Defendants Somerset County and Dale
              Lancaster to First Amended Complaint


has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Jeffrey N. Young, Esq.                  jyoung@johnsonwebbert.com
              Roberta de Araujo, Esq.                 rdearaujo@johnsonwebbert.com
              Mark V. Franco, Esq.                    mfranco@thompsonbowie.com


Dated: February 11, 2016                               /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Attorney for Defendants Somerset County and
                                                              Dale Lancaster
                                                      Wheeler & Arey, P.A.
                                                      27 Temple Street, P.O. Box 376
                                                      Waterville, ME 04903-0376




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